Case 23-34815 Document 892-1 Filed in TXSB on 12/10/24 Page 1 of 4




                         EXHIBIT 1
             Case
              Case23-34815
                   23-34815 Document
                             Document892-1
                                      871 Filed
                                           FiledininTXSB
                                                     TXSBon
                                                          on12/06/24
                                                             12/10/24 Page
                                                                       Page12ofof34
                                                                                                   United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                             ENTERED
                            IN THE UNITED STATES BANKRUPTCY COURT                                      December 06, 2024
                              FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                       HOUSTON DIVISION

    In re:                                                  §
                                                            §        Case No. 23-34815 (JPN)
    GALLERIA 2425 OWNER, LLC                                §
                                                            §        Chapter 11
             Debtor.                                        §

                   ORDER GRANTING NBK’S EMERGENCY (RENEWED)
                         MOTION TO ENFORCE SALE ORDER
             AND REQUIRING JETALL COMPANIES, INC. TO VACATE PROPERTY

             Upon the motion (the “Motion”) 1 of National Bank of Kuwait, S.A.K.P., New York Branch

(“NBK”) for itself and for Houston 2425 Galleria, LLC (“NBK’s Assignee”) for an order (the

“Order to Vacate Property”) enforcing this Court’s Sale Order at Docket No. 608; and this Court

having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

§ 1334; and consideration of the Motion and the requested relief being a core proceeding pursuant

to 28 U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice of the Motion having been provided; and it appearing

that no other or further notice need be provided; and this Court having reviewed the Motion; and

all objections, if any, to the Motion having been withdrawn, resolved, or overruled; and this Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and it appearing that the relief requested in the Motion is in the best

interests of the Debtor’s estate and creditors; and upon all of the proceedings had before this Court;

and after due deliberation and sufficient cause appearing therefor,

             IT IS HEREBY ORDERED THAT:

             1.        The Motion is granted as set forth herein.



1
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.


                                                                                                     4871-3605-5546.v12
       Case
        Case23-34815
             23-34815 Document
                       Document892-1
                                871 Filed
                                     FiledininTXSB
                                               TXSBon
                                                    on12/06/24
                                                       12/10/24 Page
                                                                 Page23ofof34




       2.      Emergency relief is warranted.

       3.      Jetall is ordered to immediately vacate the Property and to remove its personal

property therefrom forthwith. Jetall has no right to occupy or right to possess any portion of the

Property, and no claim against NBK or NBK’s Assignee, based on or arising under its lease with

the Debtor.

       4.      NBK, for itself and NBK’s Assignee, shall have all writs necessary to evict Jetall

including, without limitation, Writs of Assistance, Ejectment, Eviction, and/or Restitution.

       5.      If Jetall shall not have vacated the Property within five (5) business days of the

entry of this order, upon the request of NBK, the Clerk shall issue such Writs and the United States

Marshal shall render such assistance, including the use of reasonable force, as may be necessary

to serve and enforce such Writs and to make return thereof.

       6.      NBK or NBK’s Assignee is authorized to present this Order to Vacate Property to

the Harris County Sheriff’s Office for the purpose of permitting the immediate removal of any and

all property to which Jetall claims an ownership interest from suite 1100 (11th floor) or any other

location at the Property. Neither NBK nor NBK’s Assignee shall be required to commence formal

eviction proceedings in any other court and no other order need be obtained by NBK or NBK’s

Assignee or presented to the Sheriff to carry out the eviction of Jetall. The Sheriff is hereby

authorized and directed to accept this Order to Vacate Property as a Writ of Possession under

Texas law without the need for any further order of this Court or any other court. Neither the

Sheriff nor any other person or party will interfere with the removal of Jetall from the Property

pursuant to this order.

       7.      All notices and stays under applicable state law are hereby deemed satisfied in full

or waived, as applicable, to allow for immediate relief to NBK for itself and NBK’s Assignee.



                                                 2
                                                                                     4871-3605-5546.v12
       Case
        Case23-34815
             23-34815 Document
                       Document892-1
                                871 Filed
                                     FiledininTXSB
                                               TXSBon
                                                    on12/06/24
                                                       12/10/24 Page
                                                                 Page34ofof34




Jetall shall have no recourse in any court other than this Court, and its removal from the Property

is without prejudice to any other rights, claims, or causes of action NBK may hold against Jetall.

       8.      The entry of this Order to Vacate Property is without prejudice to NBK’s rights (for

itself and NBK’s Assignee) to seek further relief from the Court regarding Jetall’s violations of

this Court’s orders and the attorneys’ fees, costs, and other expenses NBK or NBK’s Assignee has

incurred as a result of such violations.

       9.      Any effort to disqualify counsel to NBK or NBK’s Assignee is deemed waived.

       10.     This Court retains exclusive jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this order.




Signed on:     December _______, 2024
         December
           April 04, 06,
                     20182024
               Houston, Texas                    Jeffrey P. Norman
                                                 United States Bankruptcy Judge




                                                 3
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